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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                   8:08CR473
       vs.                                     )
                                               )                     ORDER
TODD CHARLES MATTHEWS,                         )
                                               )
                     Defendant.                )


       This matter is before the court on the defendant's Motion for Disclosure of Brady
Material (Doc. 59) and supplemental motion (Doc. 64). The court has considered the
government's responses to the original motion (Doc. 61 & Doc. 63).

       It appears that the Assistant U.S. Attorney has already provided copies of all proffers
made by Thomas Carr, Douglas Cross and Linda Hernandez, and the United States does not
possess any "inconsistent statements" made by these individuals.

       Turning to the defendant's request for presentence investigation reports for Carr, Cross
and Hernandez, "It is generally agreed that 'some showing of special need' is required before
a district court should release a PSR to a third party." United States v. Spotted Elk, 548 F.3d
641, 672 (8th Cir. 2008), cert. denied, 2009 WL 481410 & 2009 WL 666948 (2009) (citing
United States Dep't of Justice v. Julian, 486 U.S. 1, 12 (1988), and United States v. Shyres,
898 F.2d 647, 656 (8th Cir. 1990)). The court has also reviewed the Eighth Circuit's recent
decision in United States v. Garcia, --- F.3d ----, 2009 WL 996826, Case No. 08-2170 (8th
Cir., April 15, 2009), which holds that "where ... the defendant has sought access to a
coconspirator's PSR, the government has recognized the possibility that the PSR contains
Brady/Giglio information and requested in camera review, and the district court fails to carry
out such a review, the district court abuses its discretion." 2009 WL 996826 at *4.
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      The circumstances of this case are different than those presented in Garcia, and the
defendant has not made a showing of special need for the reports sought.

      For these reasons,

      IT IS ORDERED:

      1.    Defendant's Motion for Disclosure of Brady Material (Doc. 59) and
supplemental motion (Doc. 64) are denied.

      2.    Defendant's request to continue trial is denied, and trial remains scheduled for
May 5, 2009.

      Pursuant to NECrimR 57.2(a), A party may appeal this order by filing a "Statement
of Appeal of Magistrate Judge's Order" no later than Monday, April 27, 2009.

      DATED April 24, 2009.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge




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